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July 14, 2023



VIA ECF

Hon. Lorna G. Schofield
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007-1312

Re:       loanDepot.com, LLC v. CrossCountry Mortgage, LLC, et al. , 22-cv-05971-LGS-SLC

Dear Judge Schofield:

       Pursuant to the Court’s Order dated June 9, 2023 (ECF No. 379) granting the parties’ joint
motion to stay this action pending the parties’ mediation, the parties submit this joint status letter.

        The parties agreed on a mediator and scheduled the mediation for September 8, 2023, due to
the availability of the parties and the mediator. The parties will promptly report the results of the
mediation to the Court. In addition, the parties respectfully request confirmation that the action
remains stayed following the Court’s June 9, 2023 lift of the stay in connection with Individual
Defendants’ filing of redacted motion papers.

Respectfully submitted,

/s/ Jessica F. Pizzutelli

Jessica F. Pizzutelli


cc:       All Counsel of Record via CM/ECF

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